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UNITED STATES DISTRICT COURT
FOR THE
WESTERN DlSTRICT OF TENNESSEE
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UNITED STATES OF AMERICA
CR. N0.05-10037-T

VS.

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STANLEY BRIAN MITCHELL

APPLICATION, ORDER and WRIT F()R HABEAS CORPUS AD PROSEOUENDUM

rl`he United States Attorney’s Office applies to the Cou.rt for a Writ to have Stanley Brian Mitchell,

DOB 10/28/59, SSN XXX-XX-XXXX, now being detained in the Orange County Jail, Orlando, Florida,
2005 at ¢)?.'C~O €`mfor

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appear before Magistrate Thornas Anderson on the §§ day of f+U(oU’r>l ,
an Appearance and for such other appearances as this Court may direct.

Respectful]y submitted this day of July, 2005.

 

 

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5 ASSiStant U. S. Attorney

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Upon consideration of the foregoing Application, David Jolley, U.S. Marshal, Western DiStriot of
Tennessee, Memphis, TN Sheriff/Warden, Orange County Jail, Orlando, FL.

YOU ARE HEREBY COMMANDED to have Stanley Brian Mitchel} appear before the

Magistrate Thomas Anderson at the date and time aforementioned

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UNITED STATES MAGISTRATE JUDGE

D.C

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CR-10037 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

